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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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JANET SHIRLEY, as Surviving
Spouse, and for the estate of
JERRY SHIRLEY, Deceased, JASON
SHIRLEY, JAYANN SHIRLEY And
JANA SHIRLEY, children of
Deceased, JERRY SHIRLEY,

NO. 03-2679 BP

Plaintiff,
vs-

THE GOODYEAR TIRE & RUBBER
COMPANY, An Ohio corporation,
GOODYEAR DUNLOP TIRES OF NORTH
AMERICA, LTD., a New York
Corporation, SUMITOMO RUBBER
INDUSTRIES, INC., a foreign
Corporation, and DUNLOP TIRE
CORPORATION, a Delaware
Corporation,

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Defendants.

 

ORDER GRANTING IN PART DEFENDANT’S MOTION FOR PROTECTIVE ORDER

 

Before the court is defendant Dunlop Tire Corporation’s
(“Dunlop”) Motion for Protective Order, filed May 23, 2005 (dkt
#89). Plaintiff Janet Shirley (“Shirley”) filed her response on

August 30, 2005.l For the reasons below, the motion is GRANTED in

 

]After Shirley failed to respond to Dunlop’s motion, the
court entered an Order to Show Cause. Shirley then mailed a
response in opposition that Shirley states Was mailed to the
Clerk of Court on June 2, 2005.

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part and DENIED in part.
I. BACKGROUND

On September lO, 2002, Decedent Jerry Shirley was repairing
the subject tire in Bogota, Tennessee, when the sidewall of the
tire burst unexpectedly, resulting in his death. The subject tire
is described as a Dunlop SP 431, size 285/75R 24.5. Defendant
Dunlop manufactured the subject tire in 1994 in its New York plant.
At the time the tire was manufactured, defendant Goodyear Tire &
Rubber Company (“Goodyear”) owned no interest in Dunlop and.the two
companies were competitors. In May of 1999, Goodyear Dunlop Tires
North America (“GDTNA”) was formed. Following the creation of
GDTNA, Dunlop dissolved.

Plaintiff Janet Shirley initiated this wrongful death action
on September 9, 2003, alleging that Dunlop was negligent in
manufacturing a defective tire that Caused the death of Jerry
Shirley and is strictly liable under a design defect theory of
products liability. Shirley further alleges that GDTNA and
Goodyear are liable for the debts of Dunlop under a successor

liability theory.2

 

2Under Tennessee law, there are four recognized exceptions
to the general rule of successor non-liability:

(l} [W]here the purchasing corporation expressly or
implicitly agrees to assume the selling corporation's
liabilities; (2) where the transaction amounts to a
consolidation or merger of the two corporations (a de
facto merger); (3) where the purchasing corporation is
a mere continuation of the selling corporation; and (4)

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Since February 23, 2004, the parties have been involved in the
discovery process. In her third request for production propounded
upon Dunlop, Shirley seeks “copies of any and all depositions,
including any and all exhibits thereto, taken in the case styled
David Harth and Rosetta Harth v. Dunlop Tire Corporation, et al.,
filed in the Superior Court of Indiana, Allen County, Indiana,
Allen Superior Cause No. OZDOl-OZOS-CT-BZl.” Dunlop requests a
protective order in the present motion with regard to Shirley's
request.

Dunlop argues that the Harth depositions are outside the scope

 

of discovery because the circumstances surrounding the accidents in
each, case, including the types of tires at issue, are not
“substantially similar.” Shirley concedes that the accidents
involved in the two cases are not substantially similar, but argues
that the same issues concerning the organizational relationships
between Dunlop, Goodyear, and GDTNA are at issue in both her case
and in Harth, and the depositions pertaining to successor liability
are relevant and discoverable.

II. ANALYSIS

Federal Rule of Civil Procedure 26(b)(l) allows for the

 

where the transaction is entered into fraudulently, in
order to escape liability for the obligations of the
selling corporation.

Signature Combs, Inc. v. United States, 331 F.Supp.Zd 630, 640
(W.D. Tenn. 2004) (Donald, J.).

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discovery of “any matter, not privileged, that is relevant to the
claim or defense of any party.” Fed. R. Civ. P. 26(b)(1). The
rule further provides that the scope of discovery is broader than
facts that will be admissible at trial; material is discoverable if

it is “reasonably calculated to lead to the discovery of admissible

 

evidence.” Id.; see also United Oil Co. v. Parts Associates, Inc.,
227 F.R.D. 404, 410 (D. Md. 2005) (“[R]elevance for discovery

purposes is viewed more liberally than relevance for evidentiary
purposes.”).

Dunlop contends that under Rve v. Black & Decker, 889 F.2d 100
(6th Cir. 1989), Shirley bears the burden of demonstrating
substantial similarity between the accident involved in §§;Lh and
the accident in the present case in order for the Har;h depositions
to be discoverable. The substantial similarity standard, however,
is applicable when a party is attempting to introduce at trial
evidence of prior accidents in order to prove causation, notice, or
the existence of a design defect.3 See Clark v. Chrvsler Corp.,
310 F.3d 461, 472-73 (6th Cir. 2002); gye, 889 F.2d at 102. Here,
Shirley seeks depositions fron1 garth not for the purpose of

introducing evidence of the Harth accident to prove causation,

 

3The court notes that there is a disagreement among courts
as to whether the substantial similarity standard applies in the
discovery stage. §§g United Oil, 227 F.R.D. at 411»12 (D. Md.
2004) (discussing different standards that courts have required
requesting parties to meet in order to obtain discovery of
evidence from prior accidents).

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notice, or the existence of a design defect, but instead to gather
evidence of the organizational relationships of the defendants in
support of her successor liability theory. Therefore, the
“substantial similarity” standard is inapplicable to Shirley's
request for the §a;ph depositions,

The plaintiff bears the burden of a threshold showing of
relevance. United Oil, 227 F.R.D. at 412 (“the law does not shift
the burden on the question of the relevance from. the party
resisting discovery to the proponent of the discovery . . . after
threshold relevance is demonstrated”); Marchello v. Chase Manhattan
Auto Fin. Corp., 219 F.R.D. 217, 218 (D. Conn. 2004) (requiring
“threshold showing” of relevance before production of documents
required); McCov v. Whirlpool Corp., 214 F.R.D. 642, 643 (D. Kan.
2003) (requiring requested material to appear “relevant on its
face”); Chavez v. Daimler Chrvsler Corp., 206 F.R.D. 615, 619 {S.D.
Ind. 2002) (same). Once this threshold showing of relevance is
met, the burden is on the resisting party to establish lack of
relevance, or some other basis for which denial of discovery is
appropriate under Fed. R. Civ. P. 26(b).

Here, Shirley'has met her initial burden of demonstrating that
the Ha;;h depositions, as they pertain to the organizational
relationships between the defendants, are relevant. In §§;th, the
plaintiffs alleged that they were injured by a passenger van tire

manufactured in 1996 by Dunlop in its Huntsville, Alabama, plant

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when the tire tread allegedly peeled off while the vehicle was in
operation on the highway. The §a;;h plaintiffs, as Shirley has
done in her complaint, filed suit against Dunlop, Goodyear, GDTNA,
and Sumitomo Rubber Industries, alleging that Goodyear and GDTNA
were responsible for Dunlop’s liabilities under a theory of
successor liability.4 The gar;h court found that the plaintiffs
had offered sufficient evidence of their successor liability claim
to create a genuine issue of material fact and denied the
defendants’ motions for summary judgment. The court found
specifically that there was evidence that GDTNA is a mere
continuation of Dunlop and that Goodyear may have ndsused the
corporate form of GDTNA in a way that constitutes fraud or
injustice.

The depositions taken in Harth that pertain to the

 

organizational relationships of the defendants are relevant to
Shirley's claim that Goodyear and GDTNA are responsible as
successors~in-interest for Dunlop's liabilities. Evidence
demonstrating that Goodyear or GDTNA is a mere continuation of
Dunlop, or that Goodyear misused the corporate form of GDTNA to
avoid Dunlop's liabilities, is relevant to the issues of whether
Goodyear or GDTNA is responsible for Dunlop's liabilities. gee

Fed. R. Evid. 401. As Shirley has met her initial burden of

 

4Shirley also filed suit against Sumitomo Rubber Industries.
On March 31, 2005, the court granted Sumitomo's Motion to Dismiss
for lack of personal jurisdiction.

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demonstrating that the depositions are relevant, Dunlop must
establish that discovery of the depositions should be denied on
some other basis. The court finds that Dunlop has failed to make
such a showing, and therefore denies Dunlop's motion with respect
to depositions pertinent to Shirley’s theory of successor
liability.

Nevertheless, Shirley's request as drafted is overbroad. In
her request for productionr Shirley seeks copies of “any and all
depositions” taken in Harth. Though Shirley has demonstrated that
depositions concerning the successor liability claim are relevant,
she has failed to show how all of the depositions taken in §§r;h
are relevant. As Dunlop points out, and as Shirley concedes, the
tires involved and the circumstances surrounding the accident in
ngph are different from the tires and circumstances involved in
Jerry Shirley's accident. The court does not see how depositions
pertaining to the design and manufacture of the tire at issue in
Harth are relevant to Shirley's claim" The court, therefore,
grants Dunlop's motion for protective order with respect to
depositions that do not address Shirley’s successor liability
theory.

III. CONCLUSION

For the reasons above, the Defendant's motion is DENIED with

respect to all depositions, and attached exhibits, from David Harth

and Rosetta Harth v. Dunlop Tire Corp., et al. that concern the

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organizational relationships between the defendants or that are
otherwise pertinent to Shirley's theory of successor liability.
The Defendant’s motion is GRANTED with respect to all other
depositions. Dunlop shall provide the discovery within.twenty (20)
days from the date of this order.

I'l‘ IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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September 2, 2005 to the parties listed

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Honorable J. Breen
US DISTRICT COURT

